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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                              CASE NO. 23-81171-CIV-CANNON

 JOHN MONROQUE,

        Plaintiff,
 v.

 NICHOLAS LORDI et al.,

       Defendants.
 ________________________________/

                             ORDER DISMISSING COMPLAINT

        THIS CAUSE comes before the Court upon a sua sponte review of the record. On August

 22, 2023, Plaintiff filed the instant Complaint [ECF No. 1]. The Complaint purports to bring seven

 claims against Defendants [ECF No. 1]. Counts IV and VI of the Complaint, however, incorporate

 all allegations from preceding counts—Counts II and V, respectively [see ECF No. 1 ¶¶ 63, 73].

 Complaints that follow this approach constitute impermissible “shotgun pleadings,” see Weiland

 v. Palm Beach Cnty. Sheriff’s Off., 792 F.3d 1313, 1321 (11th Cir. 2015), and the Court has an

 independent obligation to dismiss such pleadings and require repleader. See Ain Jeem, Inc. v.

 Individuals, Partnerships, & Unincorporated Associations Identified on Schedule A, No.

 21-CV-1331, 2021 WL 2941735, at *1 (M.D. Fla. July 13, 2021) (citing cases).

        Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

        1. The Complaint [ECF No. 1] is DISMISSED WITHOUT PREJUDICE.

        2. Plaintiff may file an amended pleading that is consistent with this Order on or before

            September 6, 2023. The amended pleading must not contain any successive counts

            that incorporate all prior allegations. In other words, Counts I, II, III, IV, V, VI, and
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            VII may incorporate the same factual allegations (paragraphs 1 through 44), but Counts

            IV and VI must not broadly incorporate the allegations of any previous counts. Further,

            each count must identify the particular legal basis for liability and contain specific

            factual allegations that support each cause of action within each count.

         3. Failure to comply with this Order may result in dismissal of the case without further

            notice.

         DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 23rd day of August

 2023.

                                                      _________________________________
                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE


 cc:     counsel of record




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